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&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL A

&nbsp;



MAY
13, 2011

&nbsp;



&nbsp;

IN RE JAY GID BRYAN, RELATOR



&nbsp;



&nbsp;

&nbsp;

Before CAMPBELL
and HANCOCK and PIRTLE, JJ.

&nbsp;

&nbsp;

MEMORANDUM OPINION

&nbsp;

Relator Jay Gid
Bryan, appearing pro se, filed a
petition for writ of mandamus on April 18, 2011.&nbsp; He did not pay the required filing fee, nor
did he file an affidavit of indigence.&nbsp; See Tex. R. App. P. 5 (unless excused by
law, filing fee in civil case due when item presented for filing); 20.1
(procedure for indigent in civil cases).&nbsp;
By letter of April 19, 2011, we advised relator
that “the filing fee in the amount of $125.00 did not accompany the captioned
original proceeding.&nbsp; Unless the filing
fee is paid by Friday, April 29, 2011, this proceeding will be subject to
dismissal.&nbsp; See Tex. R. App. P. 5.”&nbsp; On
April 27, relator filed a motion requesting an
additional five days to pay the filing fee.&nbsp;
Nevertheless, as of this date, we have not received the filing fee.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Accordingly,
we dismiss relator’s petition.&nbsp; See
Tex. R. App. P. 5, 42.3(c).&nbsp; Relator’s motion for additional time is dismissed as moot.

Per Curiam





